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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 17-0244V
                                   Filed: November 14, 2017
                                        UNPUBLISHED


    LAURA ROETGERMAN,
                                                             Special Processing Unit (SPU);
                        Petitioner,                          Ruling on Entitlement; Concession;
    v.                                                       Causation-In-Fact; Influenza (Flu)
                                                             Vaccine; Shoulder Injury Related to
    SECRETARY OF HEALTH AND                                  Vaccine Administration (SIRVA)
    HUMAN SERVICES,

                       Respondent.


Amy A. Senerth, Muller Brazil, LLP, Dresher, PA, for petitioner.
Jennifer Leigh Reynaud, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1
Dorsey, Chief Special Master:
       On February 21, 2017, Laura Roetgerman (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.,2 (the “Vaccine Act”). Petitioner alleges that that she received an
influenza (“flu”) vaccine on December 17, 2015, and subsequently suffered “left
shoulder injuries” as a result of the flu vaccination. Petition at 1. The case was
assigned to the Special Processing Unit of the Office of Special Masters.
       On November 14, 2017, respondent filed his Rule 4(c) report in which he
concedes that petitioner is entitled to compensation in this case. Respondent’s Rule
4(c) Report at 1. Specifically, respondent states that “petitioner’s alleged injury is
consistent with shoulder injury related to vaccine administration (‘SIRVA)’” and that “no

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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other cause for petitioner’s condition has been identified.” Id. at 3. Respondent further
agrees that petitioner has met the statutory requirements by suffering the residual
effects of her condition for more than six months and therefore has satisfied all legal
prerequisites for compensation under the Act. Id. at 3-4.
     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.
IT IS SO ORDERED.
                                  s/Nora Beth Dorsey
                                  Nora Beth Dorsey
                                  Chief Special Master
